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AO 91 (Rev. ll/l l) Criminal Complaint

 

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UNITED STATES DISTRICT COURT Southern District OfTe)<as

 

 

 

for the F"-ED
Southern District of Texas J¢mu¢"f)’ 13) 2019
United States OfAmerica ) David J. Bradley, C|erk of Court
V- ) .
Hugo Rene GARClA ) Case N°' N\ ”i`- Ci ` 00@\"'\/\
YoB: 1979 ')
COB: lVlexico )
)
)
Defendant(s)
C'RIMINAL COMPLAH\IT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 11, 2019 in the county Of Hidalgo in the
Southern l District of Texas , the defendant(s) violated:
Code Section l ` Ojj‘"ense Descriptian
18 U.S.C. § 922(g)(5)(A) Knowingly and unlawfully, being an alien, illegally or unlawfully in the United

States, shipped or transported in interstate or foreign commerce, or
possessed in or affecting commerce, to wit: one (1) 7.65 mm semi-automatic
handgun(Serial Number: 204053), and one 9mm Browning semi automatic
handgun (Serial Number: 245N250783).

This criminal complaint is based on these facts:

See "Attachment A"

Ef Continued on the attached sheet.

/LH

k_»€(l nant ’s signature

 

Submitted by reliable electronic means, sworn to and attested ' Antonio Perez le HS| Specia| Agent
to telephonically per FED, R. Cr. P. 4. l,and probable_cause Printed name and title /z."'
found on:

Sworn to before me and signed in my presence.

Date; 91/13/2019

Judge ’s signature
City and Stat§';'.` l\/chllen, Texas cott acker, U.S. l\/lagistrate Judge

Printed name and title

 

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Attachment A

On January ll, 2019, U.S. Immigration and Customs Enforcement (ICE),
Homeland Security Investigations (HSI) in McAllen, Texas conducted
surveillance at residence located at 618 W 30th in Mission, Texas. HSI
McAllen`special agents with assistance of HSI McAllen Task Force Officers
(TFO) and the Mission, Texas Police Departrnent approached the residence
to conduct a consensual search.

Upon arrival at the location HSI McAllen encountered Hugo Rene GARCIA
outside of the residence. GARCIA advised HSI McAllen that he resided at
the residence and granted HSI McAllen permission to conduct a consensual
search orally and in writing. The consensual search resulted in the discovery
~of one (l) 7._65 mm semi-automatic handgun (Serial Number: 204053), one
9mm Browning semi-automatic handgun (Serial Number: 245NZ50783),
four handgun magazines, 34 rounds of ammunition, and approximately
$16,000.00 in U.S. currency.

On January 11, 2019, HSI Special Agent (SA) A. Perez and HSI TFO C.
Villareal conducted an interview with GARCLA. HSI SA A. Perez read
GARCIA his Miranda rights as witnessed by Villareal. GARCIA stated he
understood his rights and voluntarily waived them orally and in writing.
GARCIA made the following non-verbatim statements that have been
paraphrased and may not be in the order in which he gave them:

GARCIA admitted he was Mexican citizen and was illegally present in the
U.S. GARCIA stated the two handguns at his residence belonged to him.
GARCIA admitted he was aware that it was illegal for him to be in
possession of a weapon.

On January 13, 2019, your affiant contacted Alcohol, Tobacco, Firearms and
Explosives (ATF) SA V. Rubbo, who is recognized expert in the interstate
and foreign commerce travel of firearms and ammunition. Based on the
information your affiant provided SA V. Rubbo about the firearms possessed
by GARCIA, SA Rubbo stated that the firearms were manufactured outside
of the State of` Texas and therefore, previously traveled in the interstate or'
foreign commerce at some time prior to being possessed by any person in
the State of TeXas.

